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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. CR S 10-223 JAM
12                                Plaintiff,
                                                         STIPULATION REGARDING RESTITUTION
13                          v.
14   YGNACIA BRADFORD,
15                                Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate to the following restitution order.

20          The PSR prepared in this matter holds the defendant responsible for restitution relating to three

21 claims by the FDIC (W. Burton Way, John Still Drive, and Evergreen Street). PSR, ¶ 26. The parties

22 agree that this is appropriate. However, the parties also agree that the FDIC’s claims should be reduced

23 so that they do not include claims for fees and costs. This is consistent with the Court’s rulings at the

24 prior restitution hearing. Thus, the parties ask that restitution be ordered in the following amounts, to be

25 owed jointly and severally with defendants Hoda Samuel and Charles Robert Maness (all three

26 properties), Tracy Painter (W. Burton property), and Daniel Harrison (Evergreen property):

27          FDIC:

28          2309 W. Burton Way                    $243,000

      STIPULATION REGARDING RESTITUTION                  1
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 1         2305 John Still Drive                   $172,000

 2         2304 Evergreen Street                   $157,000

 3                                                 FDIC Total: $572,000

 4         Restitution should be paid to the FDIC at the following address:

 5         FDIC Restitution Payments

 6         P.O. Box 971774

 7         Dallas, TX 75397-1774

 8         In light of this stipulation, the parties respectfully request that the restitution hearing set for

 9 January 6, 2015, be vacated.

10 IT IS SO STIPULATED.

11
     Dated: January 5, 2015                                    BENJAMIN B. WAGNER
12                                                             United States Attorney
13
                                                               /s/ PHILIP A. FERRARI
14                                                             PHILIP A. FERRARI
                                                               Assistant United States Attorney
15

16
     Dated: January 5, 2015                                    /s/ Philip Ferrari for
17                                                             JOSEPH WISEMAN, Esq.
18                                                             Counsel for Defendant
                                                               Ygnacia Bradford
19

20

21                                          FINDINGS AND ORDER

22         IT IS SO FOUND AND ORDERED this 5th day of January, 2015. The hearing set for January

23 6, 2015, shall be vacated. An amended Judgment will issue.

24
                                                        /s/ John A. Mendez
25                                                     THE HONORABLE JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT JUDGE
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      STIPULATION REGARDING RESTITUTION                    2
